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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 19-14312-CIV-ROSENBERG/MAYNARD

 DAVID POSCHMANN,

                Plaintiff,
 v.

 SOUTH BANK APTS, LLC,

             Defendant.
 _________________________________/

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiff, pursuant to Federal Rule of Civil Procedure 41(a) (1)(A)(i), hereby gives notice

 of his voluntary dismissal with prejudice of this action with each party to bear his/its own fees

 and costs except as otherwise agreed.

        Respectfully submitted this 8th day of October, 2019.

                                                       s/Lee D. Sarkin
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